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     Attorney for Defendant
     OSCAR RODRIGUEZ
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:17-CR-00149 TLN
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                              )       ORDER
13
                                                     )
     RIGOBERTO NUNEZ,                                )
14
                                                     )
     OSCAR ANDRADE, and                              )
15   OSCAR RODRIGUEZ,                                )
                                                     )
16
            Defendants.                              )
                                                     )
17

18

19
                                         STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and the
21
     defendants, by and through each counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on January 4, 2018.
23

24          2.      By this stipulation, the defendants now move to continue the status conference

25   until February 22, 2018, at 9:30 a.m. and to exclude time between January 4, 2018, and February
26
     22, 2018, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The government has provided 177 pages of written reports, and one disc of
 1

 2   recordings.

 3          b.      Counsel for the defendants desires additional time to consult with their respective
 4
     clients, to review the current charges, to conduct investigation and research related to the
 5
     charges, to review and copy discovery for this matter, to discuss potential resolutions with their
 6

 7
     clients, to prepare pretrial motions, and to otherwise prepare for trial.

 8          c.      Counsel for the defendants believe that failure to grant the above-requested
 9   continuance would deny them the reasonable time necessary for effective preparation, taking into
10
     account the exercise of due diligence.
11
            d.      The government does not object to the continuance.
12

13          e.      Based on the above-stated findings, the ends of justice served by continuing the

14   case as requested outweigh the interest of the public and the defendants in a trial within the
15
     original date prescribed by the Speedy Trial Act.
16
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
17
     et seq., within which trial must commence, the time period of January 4, 2018, and February 22,
18

19   2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

20   T4] because it results from a continuance granted by the Court at defendant’s request on the basis
21
     of the Court's finding that the ends of justice served by taking such action outweigh the best
22
     interest of the public and the defendants in a speedy trial.
23
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
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25   of the Speedy Trial Act dictate that additional time periods are excludable from the period within

26   which a trial must commence.
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     IT IS SO STIPULATED.
 1

 2                                                MCGREGOR SCOTT
     Dated: January 2, 2018                       U.S. ATTORNEY
 3
                                           By:    /s/ David D. Fischer for
 4
                                                  JAMES CONOLLY
 5                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
 6

 7
     Dated: January 2, 2018                       /s/ David D. Fischer for
 8                                                PRECILANO MARTINEZ
                                                  Attorney for Defendant
 9                                                RIGOBERTO NUNEZ
10

11
     Dated: January 2, 2018                       /s/ David D. Fischer for
12
                                                  DINA L. SANTOS
13                                                Attorney for Defendant
                                                  OSCAR ANDRADE
14

15
     Dated: January 2, 2018                       /s/ David D. Fischer
16                                                DAVID D. FISCHER
                                                  Attorney for Defendant
17                                                OSCAR RODRIGUEZ
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19

20
                                                 ORDER

21          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the

22
     January 4, 2018, status conference hearing be continued to February 22, at 9:30 a.m. Based on

23
     the representation of defense counsel and good cause appearing therefrom, the Court hereby

24
     finds that the failure to grant a continuance in this case would deny defense counsel reasonable

25
     time necessary for effective preparation, taking into account the exercise of due diligence. The

26
     Court finds that the ends of justice to be served by granting a continuance outweigh the best

27   interests of the public and the defendant in a speedy trial. It is ordered that time beginning from

28
     January 4, 2018 up to and including the February 22, 2018, status conference shall be excluded



                                                     3
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 1   from computation of time within which the trial of this matter must be commenced under the
 2   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to
 3   allow defense counsel reasonable time to prepare.
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 5   IT IS SO FOUND AND ORDERED this 2nd day of January, 2018.
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 9                                                       Troy L. Nunley
                                                         United States District Judge
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